18-13359-shl          Doc 399       Filed 01/11/19        Entered 01/11/19 16:00:07               Main Document
                                                        Pg 1 of 32



John E. Mitchell (Admitted Pro Hac Vice)                           Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                             Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                        Katherine C. Fackler (Admitted Pro Hac Vice)
2001 Ross Avenue, Ste. 3600                                        AKERMAN LLP
Dallas, TX 75201                                                   98 Southeast Seventh Street, Ste. 1100
Tel.: (214) 720-4300                                               Miami, FL 33131
Fax: (214) 981-9339                                                Tel.: (305) 374-5600
                                                                   Fax: (305) 374-5095
                                                            )
In re:                                                      )          Chapter 11
                                                            )
REPUBLIC METALS REFINING                                    )
CORPORATION, et al., 1                                      )          Case No. 18-13359 (shl)
                                                            )
                                 Debtors.                   )          (Jointly Administered)


    ORDER (A) AUTHORIZING AND APPROVING PROCEDURES FOR THE SALE OF
    THE DEBTORS' ASSETS FREE AND CLEAR OF ALL LIENS AND INTERESTS; (B)
       SCHEDULING A SALE HEARING; (C) APPROVING PROCEDURES FOR THE
          ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
    UNEXPIRED LEASES IN CONNECTION WITH THE SALE OF DEBTORS' ASSETS;
    (D) APPROVING THE FORM OF NOTICE FOR THE SALE OF DEBTORS' ASSETS;
     (E) APPROVING DEBTORS' SELECTION OF A STALKING HORSE BIDDER AND
                       (F) GRANTING RELATED RELIEF

           Upon the Debtors' Motion 2 (the "Motion") [Doc. No. 358] for entry of an Order: (I)

authorizing and approving procedures for the sale of the Debtors' assets free and clear of all liens

and interests; (II) scheduling a sale hearing; (III) approving procedures for the assumption and

assignment of executory contracts and unexpired leases in connection with the sale of Debtors'

assets; (IV) approving the sale of the Debtors' property free and clear, and (V) approving form of


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtors' federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).


2
    All capitalized times not defined in this Order shall have the meanings ascribed to them in the Motion.

47225837;4
18-13359-shl     Doc 399       Filed 01/11/19     Entered 01/11/19 16:00:07    Main Document
                                                Pg 2 of 32


notice of sale, dated December 21, 2018, as supplemented by the Notice of Designation of

Stalking Horse Bidder [Doc. No. 380] (the "Stalking Horse Notice", and collectively with the

Motion, the "Motion"); notice of the Motion being proper and sufficient and all interested parties

having been afforded an opportunity to be heard with respect to the Motion; after a hearing

conducted on January 9, 2019, and upon review and consideration of the relief sought in the

Motion; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors', their estates, creditors, and other parties in interest:

         THE COURT FINDS THAT:

         A.     The findings and conclusions set forth herein constitute the Court's findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings of

fact constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such.

         B.     This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334. This proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in

this district and in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         C.     The bases for the relief requested in the Motion are: (i) sections 105, 363, and

365 of the Bankruptcy Code; (ii) Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007, and 9014;

(iii) Local Rules 2002-1, 6004-1, 6006-1, and 9006-1(b), and (iv) the Sale Guidelines.

         D.     Notice of the Motion has been given to: (i) the United States Trustee for the

Southern District of New York; (ii) counsel to the Committee; (iii) counsel for the Senior

Lenders; (iv) the Debtors' 30 largest unsecured creditors; (v) the United States Attorney's Office

for the Southern District of New York; (vi) the Internal Revenue Service; (vii) the office of the

attorneys general for the states in which the Debtors operate; (viii) all parties who have

47225837;4                                          2
18-13359-shl      Doc 399   Filed 01/11/19     Entered 01/11/19 16:00:07        Main Document
                                             Pg 3 of 32


expressed a written interest in some or all of the Assets; (ix) each governmental agency that is an

interested party with respect to the Sale; (x) all parties which, to the best of the Debtors’

knowledge, information, and belief, had asserted or then may have asserted a lien in any of the

Debtors’ Assets, (xi) all parties to executory contracts and unexpired leases proposed to be

assumed and assigned, or rejected, as part of the proposed transaction; and (xii) all parties who

have filed a notice of appearance and request for service of papers pursuant to Bankruptcy Rules

2002 and 9010(b).

         E.     Notice of the Motion was adequate and sufficient under the circumstances of

these cases, and such notice complied with all of the requirements of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and the Sale Guidelines.

         F.     The Debtors have articulated good and sufficient reasons for this Court to: (i)

approve the Bid Procedures; (ii) approve the selection of Valcambi, SA, as Stalking Horse

Bidder and the 3% break-up fee (the "Break-Up Fee") and Overbid requirements related

thereto; (iii) schedule the Auction and Sale Hearing and approve the manner of notice of the

Auction and Sale Hearing; and (iii) approve the Assumption and Assignment Procedures

regarding the Contracts and Leases, including notice of proposed cure amounts. The relief

granted herein is in the best interests of the Debtors, their estates and creditors, and other

parties in interest.

         G.     The Motion, this Order, and the Assumption and Assignment Procedures are

reasonably calculated to provide counterparties to any Contracts and Leases to be assumed by the

Debtors and assigned to the Successful Bidder with proper notice of the intended assumption and

assignment of its Contracts, the procedures in connection therewith, and establishment of any

cure amounts relating thereto.




47225837;4                                      3
18-13359-shl       Doc 399       Filed 01/11/19       Entered 01/11/19 16:00:07              Main Document
                                                    Pg 4 of 32


         H.      The Sale Notice, substantially in the form attached hereto as Addendum 3, is

reasonably calculated to provide interested parties with timely and proper notice of the proposed

sale, including, without limitation: (i) the date, time, and place of the Auction; (ii) the Bid

Procedures; (iii) the deadline for filing objections to the Sale and entry of the Sale Order, and the

date, time, and place of the Sale Hearing; (iv) reasonably specific identification of the Assets 3 to

be sold; (vi) a description of the Sale as being free and clear of liens, claims, encumbrances, and

other interests, with all such liens, claims, encumbrances, and other interests attaching with the

same validity and priority to the Sale proceeds; (vii) notice of the proposed assumption and

assignment of Contracts and Leases to the Successful Bidder, and (viii) no other or further notice

of the Sale shall be required.

         IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED to the extent set forth in this Order, and solely with

respect to establishment of the Bid Procedures.

         2.      All objections to the relief requested in the Motion, with respect to establishment

and approval of the Bid Procedures, that have not been withdrawn, waived, or settled as

announced to the Court at the hearing on the Motion, are overruled.

         3.       The Bid Procedures, substantially in the form attached hereto as Addendum 1,

are approved in their entirety, and the Bid Procedures shall govern the submission, receipt, and

analysis of all bids relating to the proposed Sale or sales of the Assets. Any party desiring to bid

on any of the Assets shall comply with the Bid Procedures and this Order. The Debtors are

authorized to take any and all actions necessary to implement the Bid Procedures.




3
  While the Debtors do not presently intend to sell any inventory to Valcambi (or other winning bidder) pursuant to
the Asset Purchase Agreement, the Debtors reserve their rights to determine to sell inventory upon appropriate
notice to interested parties and Court approval.
47225837;4                                              4
18-13359-shl       Doc 399   Filed 01/11/19     Entered 01/11/19 16:00:07       Main Document
                                              Pg 5 of 32


         4.    Stalking Horse. Valcambi SA ("Valcambi") is approved as the stalking horse

bidder. Valcambi's opening bid of $16,000,000 shall serve as the opening bid at the Auction.

Valcambi shall be entitled to the Break-Up Fee, of 3% of its opening bid, or $480,000, if it is not

the successful bidder at the Auction. Potential purchasers of the Assets must submit an initial

minimum competing bid of at least $16,580,000, in order to be considered a "Qualified Bid."

Subsequent minimum overbids at the Auction shall be in increments of $100,000.

         5.    Bid Deadline. The deadline by which all bids for the Debtors' Assets must be

actually received by the parties specified in the Bid Procedures is January 28, 2019 at 5:00

p.m. (prevailing Eastern Time) (the "Bid Deadline").

         6.    Auction. If multiple Qualified Bids are received by the Debtors on or before the

Bid Deadline, then the Debtors shall conduct an auction on January 31, 2019, at 1:00 p.m.

(prevailing Eastern Time) at the offices of Akerman LLP, 666 Fifth Avenue, 20th Floor, New

York, NY 10103, or such later time on such day or other place as the Debtors shall notify the

Noticed Parties.

         7.    If the Debtors receive one or more Qualified Bids from Qualified Bidders,

then the Debtors shall conduct the Auction in accordance with the Bid Procedures.

Valcambi shall be deemed a qualified bidder.

         8.    Each bidder participating at the Auction shall be required to confirm that it has

not engaged in any collusion with respect to the bidding or the Sale, as set forth in the Bid

Procedures, the Auction shall be conducted openly, and the Auction shall be transcribed or

videotaped.

         9.    The Debtors, in consultation with the Consultation Parties, may (a) determine

which Qualified Bid is the highest or otherwise best offer; (b) reject at any time before entry of

an Order of the Bankruptcy Court approving the Successful Bid, any Bid that, in the discretion of

47225837;4                                       5
18-13359-shl     Doc 399      Filed 01/11/19     Entered 01/11/19 16:00:07         Main Document
                                               Pg 6 of 32


the Debtors, is (i) inadequate or insufficient, (ii) not in conformity with the requirements of the

Bankruptcy Code or the Bid Procedures, or (iii) contrary to the best interests of the Debtors'

estate and their creditors; and (c) at or before the conclusion of the Auction, may impose such

other terms and conditions upon Qualified Bidders as the Debtors, in consultation with the

Consultation Parties, determine to be in the best interests of the Debtors' estate in this cases.

         10.   Sale Objection Deadline. Objections, if any, to the Sale must be made on or

before February 6, 2019 at 4:00 p.m. (prevailing Eastern Time) (the "Sale Objection

Deadline"). Objections must: (a) be in writing; (b) conform to the applicable provisions of the

Bankruptcy Rules and the Local Rules; (c) state with particularity the legal and factual basis for

the objection and the specific grounds therefor; and (d) be filed with the Court and served so as

to be actually received no later than the Sale Objection Deadline by the following parties: (i)

counsel to the Debtors; (ii) proposed counsel to the Committee; (iii) the United States Trustee;

and (iv) counsel to the Senior Lenders.

         11.   A party's failure to timely file or make an objection in accordance with this Order

by the Sale Objection Deadline shall forever bar the assertion of any objection to the Motion,

entry of the Sale Order, and/or consummation of the Sale with the Successful Bidder, including

the assumption and assignment of any Contracts or Leases to the Successful Bidder pursuant to

the applicable Purchase Agreement, and shall be deemed to constitute any such party's consent to

entry of the Sale Order and consummation of the Sale and all transactions related thereto,

including, without limitation, such assumption and assignment.

         12.   The Sale Hearing shall commence on February 13, 2019 at 11:00 a.m

(prevailing Eastern Time) before the Honorable Sean H. Lane at Courtroom No. 701,

United States Bankruptcy Court, One Bowling Green, New York, New York 10004. Upon

entry of this Order, the Debtors are authorized to perform any obligations of the Debtors set

47225837;4                                        6
18-13359-shl    Doc 399     Filed 01/11/19     Entered 01/11/19 16:00:07       Main Document
                                             Pg 7 of 32


forth in any applicable asset purchase agreement that are intended to be performed prior to

the Sale Hearing or entry of the Sale Order. The Sale Hearing may be adjourned by the

Debtors by announcement in open Court or on the Court's calendar without any further notice

required.

         13.   The Assumption and Assignment Procedures as set forth in the Motion and

herein are approved and the Debtors are authorized to take any and all actions necessary and/or

appropriate to implement the Assumption and Assignment Procedures. The Form Assignment

Notice attached hereto as Addendum 2 is hereby approved as sufficient.

         14.    The following Assumption and Assignment Procedures shall govern the

assumption and assignment of the Assumed Contracts and Assumed Leases in connection with

the Sale of the Purchased Assets to the Successful Bidder:

               a. Not later than fourteen (14) days prior to the Sale Hearing (as may be
                  adjourned from time to time), the Debtors shall file with the Court a list (the
                  "Cure Schedule") identifying such contracts and leases which may constitute
                  Assumed Contracts and Assumed Leases in connection with the Sale and the
                  amounts necessary to cure defaults and/or provide compensation or adequate
                  assurance of compensation for actual pecuniary loss resulting from a default at
                  the time of assumption as determined by the Debtors (such amounts, "Cure
                  Payment Liability"), with the Purchaser to pay any such Cure Payment
                  Liabilities for any Assumed Contracts and any Assumed Leases. The Debtors
                  shall serve all counterparties to such contracts and leases with the Assignment
                  Notice, specifically stating that the Debtors are or may be seeking the sale,
                  assumption and assignment of such contracts and leases and notifying such
                  parties of the deadline for objecting (a "Cure/Assignment Objection") to the
                  amount of any Cure Payment Liability related thereto, which deadline shall be
                  three (3) business days prior to the Sale Hearing, so as to enable any such
                  party to object to the proposed Cure Payment Liability and the Court to
                  determine such Cure Payment Liability as promptly as is reasonably possible.
               b. In cases in which the Debtors are unable to establish that a default exists, the
                  relevant Cure Payment Liability shall be set at $0.00 in the Assignment
                  Notice.
               c. Notwithstanding anything herein to the contrary, the Debtors may, from time
                  to time, modify the Cure Schedule to add or remove a contract or lease,
                  counterparty, or to modify the proposed Cure Payment Liability with respect
                  to any counterparty. The non-Debtor counterparty to any such contract or
                  lease will be provided written notice of any such modification and at least
                  fourteen (14) days advance notice of its deadline to object to such
47225837;4                                      7
18-13359-shl     Doc 399     Filed 01/11/19     Entered 01/11/19 16:00:07         Main Document
                                              Pg 8 of 32


                   modification, and the Debtors will seek to set any such objection for hearing
                   before the Court as promptly as is reasonably possible.

         15.    Objections to any cure amount proposed by the Debtor in the Cure Schedule,

except as such schedule may be modified subsequent to the Auction, in connection with the

Assumption and Assignment Procedures shall be filed on or before February 8, 2019 at 4:00

p.m. (prevailing Eastern Time). A hearing on any such objections shall take place on

February 13, 2019 at 11:00 a.m. (prevailing Eastern Time) in conjunction with the Sale

Hearing.

         16.   The form of Sale Notice attached hereto as Addendum 3 is hereby approved as

sufficient.

         17.   Within two (2) business days after entry of this Order, the Debtors’ Claims Agent:

(a) shall provide a copy of the Sale Notice and this Order by first class mail to (i) the Notice

Parties, (ii) each counterparty to an executory contract with the Debtor; (iii) each party identified

by SSG or otherwise known to Debtors to be interested in purchasing all, or any portion of, the

Assets; and (iv) all known creditors of the Debtors.

         18.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

         19.   Notwithstanding the possible applicability of Bankruptcy Rules 6004, 6006, 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable.

         20.   This Court shall retain jurisdiction to resolve any dispute relating to the

interpretation of the Bid Procedures, the Assumption and Assignment Procedures, and this

Order. To the extent any provisions of this Order are inconsistent with the Motion, the terms of

this Order shall control.



47225837;4                                       8
18-13359-shl     Doc 399      Filed 01/11/19     Entered 01/11/19 16:00:07      Main Document
                                               Pg 9 of 32


         21.   The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         22.   The Debtors are not required to comply with any state or local bulk transfer laws

or requirements in connection with the Sale.

         23.   This Order shall be binding on the Debtors, including any chapter 7 or chapter 11

trustee or other fiduciary appointed for the Debtors' estates.

         24.   To the extent any of the deadlines set forth in this Bid Procedures Order do not

comply with the Local Rules, such Local Rules are waived and the terms of this Bid Procedures

Order shall govern.




Dated: January 11, 2019                        /s/ Sean H. Lane
       New York, New York                      Honorable Sean H. Lane
                                               United States Bankruptcy Judge




47225837;4                                        9
18-13359-shl       Doc 399       Filed 01/11/19 Entered 01/11/19 16:00:07                     Main Document
                                               Pg 10 of 32




                                             BID PROCEDURES


    I.       Overview.

         As contemplated by the Bid Procedures Order dated January__ , 2019 (A) authorizing and

approving procedures for the sale of the Debtors' assets free and clear of all liens and interests (the

"Bid Procedures"), including scheduling an auction (the "Auction") at which Republic Metals

Corporation, Republic Metals Refining Corporation, Republic Carbon Company, J&L Republic LLC,

R&R Metals, LLC, RMC Diamonds, LLC, RMC2, LLC, Republic High Tech Metals, LLC, and

Republic Trans Mexico Metals, SRL, as debtors and debtors in possession (collectively, "Sellers" or

"Debtors"), (B) scheduling a sale hearing, (C) approving procedures for assumption and assignment of

executory contracts and unexpired leases in connection with the sale of the Debtors' Assets; (D)

approving the form of notice for the sale of the Debtors' Assets; (E) Approving the Debtors' selection

of a stalking horse bidder (the "Stalking Horse Bidder"); and (F) granting related relief as requested

therein (the "Bid Procedures Order") [Docket No. ]1, the Debtors will solicit higher and better offers

in connection with the sale of the Assets, Assumed Liabilities, and Assigned Contracts and Leases.

The following Bid Procedures shall be the exclusive mechanism governing the Auction.

         The Sellers contemplate the sale (the "Sale") of substantially all of their assets (other than

inventory), including, without limitation, all furniture, fixtures, equipment, tools, supplies, computers,

phone systems, vehicles, trademarks, trade secrets, goodwill, assignable permits and licenses and other

tangible and intangible personal property of the Sellers and the real estate and fixtures located at

12800 NW 38 Avenue, Opa Locka, FL 33054 (collectively, the "Assets"), the assumption of certain

liabilities of the Sellers (collectively, the "Assumed Liabilities"), and the assumption and assignment


1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bid
Procedures Order.


47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 11 of 32


of certain executory contracts and unexpired leases, to include all leasehold rights of Sellers with

respect to properties (collectively, the "Assigned Contracts and Leases"), all such Assets, and

Assigned Contracts and Leases to be conveyed free and clear of all liens, claims, encumbrances and

interest, other than Assumed Liabilities and Permitted Encumbrances and as may otherwise be

provided for in the Asset Purchase Agreement (the "APA"), pursuant to sections 363 and 365 of the

Bankruptcy Code.         The proposed transaction is subject to the approval of the United States

Bankruptcy Court for the Southern District of New York (the "Bankruptcy Court").                   Qualified

Bidders (as defined below) may submit bids for all, substantially all, or certain of the Assets.

         (a)        Stalking Horse Bidder

         Valcambi SA ("Valcambi") is approved as the stalking horse bidder. Valcambi's opening

bid of $16,000,000 shall serve as the opening bid at the Auction. Valcambi shall be entitled to a

break-up fee of 3% of its opening bid, or $480,000, if it is not the successful bidder at the

Auction. Potential purchasers of the Assets must submit an initial minimum overbid of at least

$16,580,000, in order to be considered a "Qualified Bid." Subsequent minimum overbids at the

Auction shall be in increments of $100,000.

             (b)    "As Is, Where Is"

             The sale of the Assets or certain of the Assets will be on an "as is, where is" basis and

 without surviving representations or warranties of any kind, nature, or description by the Debtors,

 their agents, or estates, except, to the extent set forth in the APA or Modified APA (as defined

 below), as applicable, and the schedules thereto, with respect to the Successful Bidder (as defined

 below), all as approved by the Bankruptcy Court.

             (c)    Free Of Any And All Claims And Interests




                                                     2
47141211;6
18-13359-shl          Doc 399      Filed 01/11/19 Entered 01/11/19 16:00:07                Main Document
                                                 Pg 12 of 32


             All of the Debtors' right, title, and interest in and to the Assets, or any portion thereof, to be

 acquired will be sold free and clear of all pledges, liens, security interests, encumbrances, claims

 charges, options, and interests including, but not limited to any recoupment, offset, defenses, debts

 and obligations thereon and there against, other than the Assumed Liabilities and Permitted

 Encumbrances (collectively, the "Claims and Interests"), such Claims and Interests to attach to the

 net proceeds of the sale of such Assets in the order and priority that existed immediately prior to the

 closing of such Sale, except, to the extent otherwise set forth in the APA or Modified APA, as

 applicable.

 II.         Access to Non-Public Information.

             To obtain access to certain material non-public information that has been or will be

 delivered to any Potential Bidder, as defined below concerning the Assets, Assumed Liabilities, and

 Assigned Contracts and Leases, each interested person or entity must execute a confidentiality

 agreement, in form and substance satisfactory to the Debtors, which may be obtained from SSG

 Capital Advisors, LLC, Attn.: Mark E. Chesen and Michael Goodman, 300 Barr Harbor Drive,

 Suite 420, West Conshohocken, PA 19428, mchesen@ssgca.com and mgoodman@ssgca.com,

 and deliver such confidentiality agreement to SSG before any access to such information is

 provided.

             Thereafter, the Debtors, after consultation with their counsel and financial advisors, will

 determine in their reasonable business judgment whether to afford such Potential Bidder access to

 due diligence materials, as the Debtors deem appropriate in the exercise of their reasonable business

 judgment.

             Each Qualified Bidder (as defined below) will be deemed to have acknowledged and will

 so represent in the APA or Modified APA, as applicable, that it had the opportunity to conduct any



                                                         3
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 13 of 32


 and all due diligence necessary prior to making any offer and that it has relied solely on its own

 independent review and that it did not rely on any written or oral statements, representations,

 promises or guaranties of the Debtors and regarding the Assets or the Debtors' businesses or the

 completeness of any information provided by the Debtors in connection with its bid or bidding

 process.

 III.        Bid Requirements.

             (a)   Qualified Bid Requirements.

             Each offer, solicitation or proposal (a "Bid") from any interested person or entity (each,

 a "Potential Bidder") must be in writing and satisfy each of the following conditions to be

 deemed a "Qualified Bid" and for the bidder to be deemed a "Qualified Bidder."

                    1.      Identification of Bidder.

             The Bid shall identify the Potential Bidder and the applicable Potential Bidder's Sponsor

 (as defined below) (if any) and their representatives who are authorized to act on their behalf

 regarding the contemplated transaction. If the Potential Bidder is a newly formed acquisition

 vehicle, the Bid must include evidence (in the form of binding commitment letters, current

 financial statements, guarantees or otherwise) that the Potential Bidder and/or the Potential

 Bidder's Sponsor as defined below, is able to fulfill all obligations in connection with the

 contemplated transactions including, but not limited to, paying liquidated damages, if any.

                    2.      Executory Contracts and Unexpired Leases.

             The Bid shall identify with particularity each and every executory contract and unexpired

 lease that is to be assumed and assigned pursuant to the APA or Modified APA, as defined below,

 and demonstrate to the reasonable satisfaction of the Debtors after consultation with the

 Consultation Parties, that such bidder has the financial ability, can otherwise comply with all future



                                                        4
47141211;6
18-13359-shl         Doc 399       Filed 01/11/19 Entered 01/11/19 16:00:07               Main Document
                                                 Pg 14 of 32


 obligations under all such executory contracts and unexpired leases and provide such other

 adequate assurance of future performance.

                     3.      Nature of Bids for Assets.

             A Bid must be a good faith offer to purchase all, substantially all or certain of the Assets, as

 defined in the APA, and provide for the payment and assumption of all of the Assumed Liabilities,

 as defined in the APA, on terms that are no less favorable to the Sellers than those set forth in the

 APA. If the Bid is for less than substantially all of the Assets, it must clearly identify the Assets to

 be purchased and the Assets to be excluded (if any). A Bid shall include a clean and duly executed

 APA (the "Modified APA") and a marked Modified APA reflecting the variations from the APA.

 Bids shall not be conditioned on or subject to (i) obtaining financing, (ii) approvals by any

 shareholders, board of directors (or comparable governing body) or any other entity or any other

 form of internal approvals, or (iii) further due diligence, including, without limitation,

 environmental, employment, labor, health and/or safety due diligence, by the Potential Bidder.

 Each Potential Bidder must agree that if it is selected as the Successful Bidder or the Back-Up

 Bidder (each as defined below), the Bid will remain binding and irrevocable until the closing of the

 Sale.

                     4.      Financial Capability

             Except with respect to a Bid by a Secured Lender, the Bid shall state that such bidder is

 financially capable of consummating the transactions contemplated by the Modified APA and

 demonstrate to the reasonable satisfaction of the Debtors, that such bidder has the financial ability

 to fund and consummate the acquisition of the Assets and Assumed Liabilities by the Closing,

 and, except with respect to a Bid by a Secured Lender, the Bid shall include such financial and

 other information that will allow the Debtors, after consultation with the Consultation Parties, to



                                                        5
47141211;6
18-13359-shl         Doc 399      Filed 01/11/19 Entered 01/11/19 16:00:07              Main Document
                                                Pg 15 of 32


 make a reasonable determination as to the Potential Bidder's financial and other capabilities to

 consummate the transactions contemplated by the Modified APA.

                     5.     Corporate Authority

             A Bid shall contain written evidence of the approval of the contemplated transaction by

 the Potential Bidder's Board of Directors (or comparable governing body); provided, however

 that, if the Potential Bidder is an entity specially formed for the purpose of acquiring the

 Assets, then the Potential Bidder must furnish evidence or other information acceptable to the

 Sellers of the approval of the contemplated transactions by the Board of Directors (or

 comparable governing body) of controlling equity holder(s) of the Potential Bidder (the

 "Potential Bidder's Sponsor").

                    6.      No Break-Up Fee, Etc. for Potential Bidders

             Except to extent agreed to by the Debtors, in consultation with the Consultation Parties, per

 the procedures above, a Bid (other than that of the Stalking Horse) may not request any break-up

 fee, termination fee, expense reimbursement or similar type of payment, nor shall any Qualified

 Bidder be entitled to any break-up fee or similar type of payment. Moreover, neither the tendering

 of a Bid nor the determination that a Bid is either a Qualified Bid or the Successful Bid (as defined

 below) shall in any way entitle the Potential Bidder to any break-up fee, termination fee, expense

 reimbursement or similar type of payment.

                    7.      Good Faith Deposit

             Each Bid from a Potential Bidder must be accompanied by a cash deposit in the amount of

 ten percent (10%) of the proposed Purchase Price, exclusive of Cure Costs and any Assumed

 Liabilities (each such deposit, a "Good Faith Deposit"). Each Good Faith Deposit shall be in the




                                                       6
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 16 of 32


 form of a bank check or wire transfer pursuant to instructions issued by the Sellers, and shall be

 treated according to the terms specified herein.

                    8.      Representation Regarding Excluded Assets

             Each Bid shall expressly provide that (x) the Assets do not include any claims, damages,

 actions, suits, causes of action, rights, liens, demands, obligations and/or liabilities, of any

 nature whatsoever, whether known or unknown, asserted or unasserted, that existed or that

 may have existed at any time up until the Closing Date (collectively, “Claims”) other than

 those specifically identified as Assets and (y) the Assets shall, under no circumstances, include

 any (a) Claims against any current or former equityholder, any other Seller or affiliate of any Seller,

 or any director, officer, Insider (as defined in the Bankruptcy Code), auditor, insurer, accountant or

 other retained professional of any Seller or any affiliate of the foregoing, (b) Claims arising under

 Chapter 5 of the Bankruptcy Code or comparable state laws, or (c) Claims against any person or

 entity arising out of or in connection with any act or omission made by a party identified in clause

 (a) of this sentence.

                   9.      Bid Deadline

         Any person or entity interested in participating in the Auction must submit a Qualified Bid

 (as defined below) on or before 5:00 p.m. (prevailing Eastern time) on January 28, 2019 (the

 "Bid Deadline") in writing, to (1) counsel to the Debtors, Akerman LLP, Attn: John Mitchell, Esq.,

 2001 Ross Ave., Suite 3600, Dallas, Texas 75201, john.mitchell@akerman.com and Andrea Hartley,

 Esq., and Katie Fackler, Esq., 98 Southeast Seventh Street, Suite 1100, Miami, FL 33131,

 andrea.hartley@akerman.com and katherine.fackler@akerman.com; (2) SSG Capital Advisors, LLC,

 Attn: Michael S. Goodman and Mark E. Chesen, 300 Barr Harbor Drive, Suite 420, West




                                                    7
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 17 of 32


 Conshohocken, PA 19428, mgoodman@ssgca.com and mchesen@ssgca.com. The Debtors will

 promptly provide copies of timely Bids to the Consultation Parties upon receipt thereof.

         (b)       Qualified Bidders

             The Debtors, in consultation with the Consultation Parties, and in consideration of their

 respective views, shall make a determination regarding whether a Bid is a Qualified Bid and

 shall notify Potential Bidders whether their Bids have been determined to be Qualified Bids by

 no later than 5:00 p.m. (prevailing Eastern time) on January 29, 2019. The Sellers reserve

 the right to reject any Bid (even if such Bid constitutes a Qualified Bid) if the Sellers determine, in

 their sole discretion after consultation with the Consultation Parties, that such Bid is inadequate or

 insufficient or the Sellers determine, in their sole discretion after consultation with the

 Consultation Parties, that such Bid is not in conformity with the requirements of the Bankruptcy

 Code or any related rules, the terms set forth in the Bid Procedures or contrary to the best interests

 of the Sellers and their estates. Valcambi is a Qualified Bidder.

             Subject to the applicable provisions of the Bankruptcy Code and the right of any party with

 requisite standing to seek relief limiting a Secured Lender’s right to credit bid thereunder, each

 Secured Lender reserves the right to submit a credit bid on or before the Bid Deadline for any

 Assets as to which it asserts a valid, perfected and enforceable lien and security interest.

         (c)        No Qualified Bids.

             If no conforming Qualified Bids are received, the Debtors shall not hold an Auction on

the date scheduled.         The Debtors reserve their rights to reschedule the Auction, upon the

appropriate Notice.

         (d)       Negotiation and Modification of Qualified Bids.




                                                     8
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 18 of 32


             Between the Bid Deadline and the Auction, the Debtors may discuss, negotiate or seek

 clarification of any Qualified Bid from a Qualified Bidder. Without the written consent of the

 Debtors, a Qualified Bidder may not modify, amend or withdraw its Qualified Bid, except for

 proposed amendments to increase the purchase price or otherwise improve the terms of the

 Qualified Bid, during the period that such Qualified Bid remains binding as specified herein.

             Prior to the Auction, the Debtors shall, in consultation with the Consultation Party,

 determined which Qualified Bid(s) constitute(s) the highest and best offer(s) with which it

 intends to commence the Auction (the "Pre-Auction Successful Bids").

         (e)        Notice of the Auction

             If the Debtors receive more than one Qualified Bid, the Auction will be held on

 January 31, 2019 at 1:00 p.m. (prevailing Eastern Time) at the offices of Akerman LLP, 666

 Fifth Avenue, 20th Floor, New York, NY 10103, or at any such other location or time as

 designated by the Debtors in a notice to all Qualified Bidders, and the Consultation Parties. On or

 before 1:00 p.m. prevailing Eastern Time, on January 30, 2019, the Debtors shall provide each

 Qualified Bidder and the Consultation Parties:

                    1.      written notice of the Auction; and

                    2.      copy(ies) of the Pre-Auction Successful Bid(s).

 IV.     The Auction.

             (a)    Attendance at and Participation in the Auction.

             In addition to Qualified Bidders (along with their advisors and counsel), only the Debtors,

 the Consultation Parties, the U.S. Trustee, and their respective advisors, counsel and

 representatives shall be entitled to attend the Auction. The actual bidding shall be transcribed to

 ensure a record. The Qualified Bidders must appear in person at the Auction, or through a duly



                                                     9
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07            Main Document
                                               Pg 19 of 32


 authorized representative. The only parties eligible to participate in the Auction shall be Qualified

 Bidders who have submitted a Qualified Bid to the Debtors prior to the Bid Deadline that was not

 rejected by the Debtors, in consultation with the Consultation Parties, prior to the Auction.

             (b)    The Auction Process.

                    1.      The Debtors Shall Conduct the Auction.

             The Debtors and their representatives shall direct and preside over the Auction. Only the

 Qualified Bidders shall be entitled to make any subsequent bids at the Auction. The bidding at the

 Auction shall start at the purchase price stated in the Pre-Auction Successful Bid and continue, in

 one or more rounds of bidding, so long as during each round at least one Overbid (as defined

 below) is submitted. All Overbids shall be made and received on an open basis, such that all

 material terms of each Overbid will be fully disclosed to all other Qualified Bidders. The bidding

 at the Auction will be transcribed and the Debtors shall maintain a transcript of all bids made and

 announced at the Auction, including all Overbids and the Successful Bid (defined below).

                    2.      No Collusion.

             Each Qualified Bidder shall be required to acknowledge and agree in writing that it

 has not engaged (and agrees not to engage) in any collusion with respect to any Bids, the

 Auction or the Sale.

                    3.      Terms of Overbids.

             An "Overbid" is any bid made at the Auction after the Debtors' announcement of the

 Pre-Auction Successful Bid, that is an increment of at least $100,000 greater than the

 immediately preceding bid, and that otherwise complies with the terms and conditions for a

 Qualified Bid as set forth herein. All Overbids must also contain sufficient cash to pay the 3%

 ($480,000) break-up fee granted to the Stalking Horse Bidder.



                                                    10
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 20 of 32


             The Auction may include individual negotiations with the Qualified Bidders and/or

 open bidding in the presence of all other Qualified Bidders.

                    4.     Announcing Overbids.

             The Debtors shall announce the material terms of each Overbid at the Auction, and shall

 disclose its valuation of the total consideration offered in each such Overbid (and the basis for its

 determination) in order to confirm that each Overbid meets the requisite bid increment and to

 provide a floor for further Overbids.

                    5.     Additional Terms and Conditions

             The Debtors may modify these Bidding Procedures and/or adopt additional rules for the

 Auction at or prior to the Auction that, in their sole discretion after consultation with the

 Consultation Parties, will better promote the goals of the Auction and that are not inconsistent with

 any of the provisions of the Bid Procedures Order. The Auction may be adjourned as the Debtors

 deem appropriate after consultation with the Consultation Parties. Reasonable notice of such

 adjournment and the time and place for the resumption of the Auction shall be given to all

 Qualified Bidders and the Consultation Parties.

 V.          Identification of the Successful Bidder and Acceptance of Successful Bid.

             (a)    Identification of the Successful Bidder.

             The Auction shall continue until there is only one offer that the Debtors determine in

 consultation with the Consultation Parties and in consideration of their respective views, is the

 highest or best offer from among the Qualified Bidders submitted at the Auction (the "Successful

 Bid"). In making this decision, the Debtors, in consultation with the Consultation Parties, may

 consider, without limitation, the amount of the purchase price, the form of consideration being

 offered, the likelihood of the Qualified Bidder's ability to close a transaction and the timing thereof,



                                                     11
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                               Pg 21 of 32


 the number, type and nature of any changes to the APA or Modified APA requested by each

 Qualified Bidder, the net benefit to the Debtors' estates. The Qualified Bidder submitting such

 Successful Bid shall become the "Successful Bidder”).

             Within three (3) days after adjournment of the Auction, but prior to the Sale Hearing, the

 Successful Bidder shall complete and execute all agreements, contracts, instruments or other

 documents evidencing and containing the terms and conditions upon which the Successful Bid was

 made and make and pay for all necessary filings with all applicable governmental or other

 authorities.

             In announcing the Successful Bid and the Back-Up Bid (defined below), the Debtors

 shall announce the material terms of each Bid and the basis for determining the total

 consideration offered. If there is only one Qualified Bid for an Asset or Assets, the Debtors

 will not conduct an Auction as to such Asset(s) and the Debtors may, in their sole discretion

 (after consultation with the Consultation Parties), seek approval of such Qualified Bid(s) at

 the Sale Hearing (as defined below).

             (b)    Acceptance of Bid from Successful Bidder.

             The Sellers presently intend to sell the Assets and the Assumed Liabilities to the

 Successful Bidder, pursuant to the APA or Modified APA, as applicable. The Sellers shall be

 bound by the Successful Bid only when such Bid has been approved by the Court at the Sale

 Hearing (as defined below).

VI.      Back-Up Bidder.

             If an Auction is conducted, the Qualified Bidder with the next highest or otherwise best

 Qualified Bid (the “Back-Up Bid”), as determined by the Debtors in the exercise of their business

 judgment in consultation with the Consultation Parties and in consideration of their respective



                                                     12
47141211;6
18-13359-shl         Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07               Main Document
                                               Pg 22 of 32


 views, at the Auction shall be required to serve as a back-up bidder (the "Back-Up Bidder") and

 keep such bid open and irrevocable for one (1) business day following the scheduled closing date of

 the Sale with the Successful Bidder. Following the Sale Hearing, if the Successful Bidder fails to

 consummate an approved sale because of a breach or failure to perform on the part of such

 Successful Bidder, the Back-Up Bidder will be deemed to be the new Successful Bidder, and the

 Debtors will be authorized, but not required, to consummate the Sale with the Back-Up Bidder

 without further order of the Court after consultation with the Consultation Parties.

VII.     Treatment of Good Faith Deposit.

             Except as otherwise provided herein, Good Faith Deposits shall be returned to each bidder

 not selected by the Debtors as the Successful Bidder or the Back-Up Bidder by no later than the

 fifth (5th) Business Day following the conclusion of the Auction. The Good Faith Deposit of the

 Back-Up Bidder shall be held by the Debtors until one (1) Business Day after the closing of the sale

 transaction with the Successful Bidder, or will be held and applied in accordance with the APA or

 Modified APA, as applicable, in the event the Back-Up Bidder acquires the Assets as provided

 herein. The Good Faith Deposit of the Successful Bidder, if any, shall be held until the Closing of

 the Sale and applied in accordance with the APA or Modified APA, as applicable. If the Successful

 Bidder fails to consummate an approved sale because of a breach or failure to perform on the part

 of such Successful Bidder, the Successful Bidder's Good Faith Deposit shall be forfeited to the

 Sellers and the Sellers shall have the right to seek any and all remedies and damages from the

 defaulting Successful Bidder.

             If the Back-Up Bidder fails to consummate an approved sale because of a breach or failure

 to perform on the part of such Back-Up Bidder, the Back-Up Bidder's Good Faith Deposit shall be




                                                    13
47141211;6
18-13359-shl         Doc 399      Filed 01/11/19 Entered 01/11/19 16:00:07             Main Document
                                                Pg 23 of 32


 forfeited to the Sellers and the Sellers shall have the right to seek any and all remedies and damages

 from the defaulting Back-Up Bidder.

VIII. The Sale Hearing.

             The Successful Bid and the Back-Up bid will be subject to approval by the Court. The Sale

 Hearing will take place on February 13, 2019 at 11:00 a.m. (prevailing Eastern Time) before

 the Honorable Judge Sean Lane, United States Bankruptcy Court, for the Southern District of

 New York, One Bowling Green, New York, New York 10004-1408, Courtroom 701. The Sale

 Hearing may be adjourned with the consent of the Successful Bidder after consultation with the

 Consultation Parties from time to time without further notice to creditors or parties-in-interest

 other than by announcement of the adjournment in open court on the date scheduled for the Sale

 Hearing.

IX.      Jurisdictional Consent.

             All bidders at the Auction will be deemed to have consented to the core jurisdiction of the

 Bankruptcy Court and waived any right to jury trial in connection with any disputes relating to the

 Auction, the Sale and the construction and enforcement of any APA or Modified APA and all

 other agreements entered into in connection with any proposed Sale transaction. Such consent and

 waiver shall apply to the extent that it is later determined that the Bankruptcy Court, absent

 consent, cannot enter final orders or judgments with regard to the foregoing matters consistent with

 Article III of the United States Constitution.




                                                      14
47141211;6
18-13359-shl       Doc 399       Filed 01/11/19 Entered 01/11/19 16:00:07                     Main Document
                                               Pg 24 of 32



John E. Mitchell (Admitted Pro Hac Vice)                       Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                         Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                    Katherine C. Fackler (Admitted Pro Hac Vice)
2001 Ross Avenue, Ste. 3600                                    AKERMAN LLP
Dallas, TX 75201                                               98 Southeast Seventh Street, Ste. 1100
Tel.: (214) 720-4300                                           Miami, FL 33131
Fax: (214) 981-9339                                            Tel.: (305) 374-5600
                                                               Fax: (305) 374-5095
                                                        )
In re:                                                  )           Chapter 11
                                                        )
REPUBLIC METALS REFINING                                )
CORPORATION, et al., 1                                  )           Case No. 18-13359 (shl)
                                                        )
                              Debtors.                  )           (Jointly Administered)


     NOTICE OF (I) INTENT TO ASSUME AND ASSIGN EXECUTORY CONTRACTS
    AND UNEXPIRED LEASES, (II) PROPOSED CURE AMOUNTS ASSOCIATED WITH
        ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
          UNEXPIRED LEASES, AND (II) DEADLINE TO OBJECT THERETO

         YOU ARE RECEIVING THIS NOTICE BECAUSE YOU OR ONE OF
         YOUR AFFILIATES IS A COUNTERPARTY TO AN EXECUTORY
         CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE OF THE
         DEBTORS THAT MAY BE ASSUMED AND ASSIGNED BY THE
         DEBTOR TO A THIRD PARTY.

         YOU MAY WISH TO SEEK LEGAL ADVICE CONCERNING THE
         PROPOSED TREATMENT OF YOUR EXECUTORY CONTRACT OR
         UNEXPIRED LEASE.

       PLEASE TAKE NOTICE that on December 21, 2018, the Debtors filed a Motion for
Order (I) Authorizing and Approving Procedures for the Sale of the Debtors' Assets, (II)
Scheduling a Sale Hearing; (III) Approving Procedures for the Assumption and Assignment of
Executory Contracts and Unexpired Leases in Connection with the Sale; (IV) Approving Sale of


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



47432839;2
18-13359-shl          Doc 399       Filed 01/11/19 Entered 01/11/19 16:00:07                    Main Document
                                                  Pg 25 of 32


Property Free and Clear of Interest; and (V) Approving Form of Notice of Sale (the "Sale
Motion") (ECF No. 358). 2

       PLEASE TAKE FURTHER NOTICE that on January __, 2019, the Bankruptcy Court
entered an Order approving the Bid Procedures and approving the form of this Notice (the "Sale
Procedures Order") [ECF No. XXX].

        PLEASE TAKE FURTHER NOTICE that on the schedule annexed hereto as Exhibit
A, the Debtors have indicated the cure amounts (in each instance, the "Proposed Cure Amount")
that the Debtors believe must be paid to cure any defaults under the executory contracts and
unexpired leases (each, a "Contract") being assumed and assigned pursuant to the Sale Order.

        PLEASE TAKE FURTHER NOTICE that any party objecting to the Proposed Cure
Amount, whether or not such party previously has filed a proof of claim with respect to amounts
due under the applicable agreement, or objecting to the potential assumption and assignment of
such Contract, shall be required to file and serve an objection setting forth with specificity any
and all cure obligations that the objecting party asserts must be cured or otherwise satisfied in
respect of the Contracts and/or any and all objection to the potential assumption and assignment
of such Contracts, together with all documentation supporting such cure claim or other objection.
Any objections to the proposed assumption of the Contracts and/or the corresponding Proposed
Cure Amounts, must be filed with the Court no later than February 8, 2019 at 4:00 p.m.
(prevailing Eastern Time) (a "Cure Objection").

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Sale Procedures
Order, any Cure Objection must (a) be in writing; (b) comply with the Bankruptcy Rules and
Local Rules; (c) state the name and address of the objecting party and the amount and nature of
the claim or interest beneficially owned by such entity; (d) state with particularity the legal and
factual basis for such objections; and (e) be filed with this Court with proof of service thereof
and served upon the following parties so as to be actually received by the Objection Deadline: (i)
the Debtors, c/o Republic Metals Refining Corporation, (Attn: Scott Avila); (ii) the attorneys for
the Debtors, Akerman LLP, 2001 Ross Avenue, Suite 3600, Dallas, TX 75201 (Attn: John
Mitchell, Esq.) and 98 Southeast Seventh Street, Suite 1100, Miami, FL 3313 (Attn: Andrea S.
Hartley, Esq. and Katherine C. Fackler, Esq.); (iii) the Office of the United States Trustee for the
Southern District of New York, U.S. Federal Office Building, 201 Varick Street, Suite 1006,
New York, New York 10014 (Attn: Shannon Scott, Esq.); (iv) counsel to the Debtors' pre-
petition senior secured lenders, Luskin, Stern & Eisler LLP, Eleven Times Square, New York,
NY 10036 (Attn: Michael Luskin, Esq., Richard Stern, Esq., and Alex Talesnick, Esq.); and (v)
counsel to the Official Committee of Unsecured Creditors, Cooley LLP, 1114 Avenue of the
Americas, New York, NY 10036 (Attn: Seth Van Aalten, Esq. and Robert Winning, Esq.).

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Sale Procedures
Order, a hearing to consider approval of the Sale Motion, including the assumption and
assignment of Contracts and the Proposed Cure Amounts, will be held on February 13, 2019 at
11:00 a.m. (prevailing Eastern Time) before the Honorable Sean H. Lane, United States


2
    Unless otherwise defined herein, capitalized terms shall have the meaning given them in the Sale Motion.


47432839;2
18-13359-shl    Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07           Main Document
                                          Pg 26 of 32


Bankruptcy Judge, in Room 701 of the United States Bankruptcy Court for the Southern
District of New York One Bowling Green, New York, New York 10004.

       PLEASE TAKE FURTHER NOTICE that in the event no Cure Objection is timely
filed with respect to a Contract, the counterparty to such Contract shall be deemed to have
consented to the Proposed Cure Amount and shall be forever enjoined and barred from seeking
any additional amount on account of the cure obligations under section 365 of the Bankruptcy
Code or otherwise from the Debtors, their estates, or the successful purchaser. In addition, if no
timely Cure Objection is filed with respect to a Contract, upon entry of any final order on the
Sale Motion, such counterparty shall be deemed to have waived any right to object, consent,
condition, or otherwise restrict the Debtors' assumption and assignment of the Contract to the
successful purchaser.

        PLEASE TAKE FURTHER NOTICE that the inclusion of a Contract herein is without
prejudice to the successful purchaser's right to modify their election to accept an assignment of
such Contract prior to the closing of any sale under the Sale Motion, and inclusion of a Contract
herein is not a final determination that such Contract will be assumed and assigned.

        PLEASE TAKE FURTHER NOTICE that that inclusion of a Contract herein shall not
constitute or be deemed to be a determination or admission by the Debtors that such document is,
in fact, an executory contract or unexpired lease within the meaning of section 365 of the
Bankruptcy Code (all rights with respect thereto being expressly reserved).

Dated: January __, 2019                           Respectfully submitted,
                                                  AKERMAN LLP


                                                  By:    /s/ Katherine C. Fackler
                                                         Andrea S. Hartley (Admitted Pro Hac Vice)
                                                         Joanne Gelfand (Admitted in New York)
                                                         Katherine C. Fackler (Admitted Pro Hac Vice)
                                                         AKERMAN LLP
                                                         98 Southeast Seventh Street, Suite 1100
                                                         Miami, FL 33131
                                                         Tel.: (305) 374-5600
                                                         Fax: (305) 374-5095
                                                         E-Mail: andrea.hartley@akerman.com
                                                         E-Mail: joanne.gelfand@akerman.com
                                                         E-Mail: katherine.fackler@akerman.com
                                                                        -and-
                                                         John E. Mitchell (Admitted Pro Hac Vice)
                                                         Yelena Archiyan (Admitted in New York)
                                                         AKERMAN LLP
                                                         2001 Ross Avenue, Suite 3600
                                                         Dallas, TX 75201
                                                         Tel.: (214) 720-4300



47432839;2
18-13359-shl   Doc 399   Filed 01/11/19 Entered 01/11/19 16:00:07    Main Document
                                       Pg 27 of 32


                                                 Fax: (214) 981-9339
                                                 E-Mail: john.mitchell@akerman.com
                                                 E-Mail: yelena.archiyan@akerman.com


                                          Counsel for Debtors and Debtors-in-Possession




47432839;2
18-13359-shl      Doc 399   Filed 01/11/19 Entered 01/11/19 16:00:07   Main Document
                                          Pg 28 of 32


                                         Exhibit A
                                   Proposed Cure Amounts




         Debtor       Contract         Contract     Description    Date of    Cure
         Name       Counterparty     Counterparty   of Contract   Contract   Amount
                                       Contact       or Lease     or Lease
                                     Information
 1.
 2.
 3.
 4.
 5.
 6.
 7.
 8.
 9.
10.
11.
12.
13.
14.
15.
16.
17.
18.
19.
20.
21.
22.
23.
24.
25.




47432839;2
18-13359-shl         Doc 399      Filed 01/11/19 Entered 01/11/19 16:00:07                    Main Document
                                                Pg 29 of 32




    John E. Mitchell (Admitted Pro Hac Vice)                    Andrea S. Hartley (Admitted Pro Hac Vice)
    Yelena Archiyan (Admitted in New York)                      Joanne Gelfand (Admitted in New York)
    AKERMAN LLP                                                 Katherine C. Fackler (Admitted Pro Hac Vice)
    2001 Ross Avenue, Ste. 3600                                 AKERMAN LLP
    Dallas, TX 75201                                            98 Southeast Seventh Street, Ste. 1100
    Tel.: (214) 720-4300                                        Miami, FL 33131
    Fax: (214) 981-9339                                         Tel.: (305) 374-5600
                                                                Fax: (305) 374-5095
                                                        )
In re:                                                  )           Chapter 11
                                                        )
REPUBLIC METALS REFINING                                )
CORPORATION, et al.,1                                   )           Case No. 18-13359 (shl)
                                                        )
                               Debtors.                 )           (Jointly Administered)


       NOTICE OF (I) PROPOSED SALE OF THE ASSETS OF THE DEBTORS FREE
          AND CLEAR OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES,
        (II) BID PROCEDURES, (III) SELECTION OF STALKING HORSE BIDDER,
                       AND (IV) RELIEF RELATED THERETO


PLEASE TAKE NOTICE OF THE FOLLOWING:

            1. On December 21, 2018, the Debtors filed with the Court a motion [Docket No. 358]
(the "Sale Motion") seeking, among other things: (a) authority to sell assets of the Debtors free
and clear of all liens, claims, interests and encumbrances (the "Sale"); (b) approval of certain
procedures (the "Bid Procedures") for the solicitation of bids with respect to the Sale; (c) approval
of certain procedures (the "Assumption and Assignment Procedures") in connection with the
identification and assumption of certain contracts and leases in connection with the Sale; and (d)
scheduling an auction (the "Auction") and a final hearing with the Court for approval of the Sale
(the "Sale Hearing").

         2. By Notice at Docket No. 380, the Debtors filed that certain form of Asset Purchase
Agreement (including all exhibits, schedules and ancillary agreements related thereto, the "APA"),

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic
Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
Delegación Cuauhtémoc, Mexico DF 6000 (2942).



47230917;1
18-13359-shl    Doc 399     Filed 01/11/19 Entered 01/11/19 16:00:07            Main Document
                                          Pg 30 of 32


which contemplates the sale of the Sellers' assets (the "Assets"), through the Auction, to Valcambi
SA.

            3. A hearing on approval of the Bid Procedures was held before the Court on January
9, 2019, and thereafter the Court entered an Order, among other things, approving the Bid
Procedures [Docket No. [••]] (the "Bid Procedures Order"). The Bid Procedures Order approves
and establishes the Bid Procedures that govern the manner in which the Assets are to be sold. All
bidders must comply with the Bid Procedures and submit a Qualified Bid so as to be received not
later than January 28, 2019.

            4. Pursuant to the Bid Procedures, each Qualified Bidder (as defined in the Bid
Procedures) shall be invited to participate in the Auction which Auction must be attended in person
and which shall commence at 1:00 p.m. (prevailing Eastern Time) on January 31, 2019, at the
offices of Akerman LLP, 666 Fifth Avenue, 20th Floor, New York, NY 10103.

            5. The Sale Hearing is currently scheduled to be conducted on February 13, 2019 at
11:00 a.m. (prevailing Eastern Time) before the Honorable Sean H. Lane, United States
Bankruptcy Judge for the Southern District of New York, to consider the approval the highest and
best offer by a Qualified Bidder (the "Successful Bidder"), the second highest or best offer by a
Qualified Bidder (the "Backup Bidder") and of the APA (as modified by the Successful Bidder)
and seeking entry of an order approving the Sale (the "Sale Order"). The Sale Hearing may be
adjourned or rescheduled from time to time without further notice other than an announcement by
the Debtors in the Court of such adjournment on the date scheduled for the Sale Hearing.

            6. A copy of the Bid Procedures Order, the proposed APA (attached to the Notice at
Docket 380) and the Sale Motion (including the proposed Sale Order) may be obtained by written
request to counsel to the Debtors at the address below. In addition, copies of the aforementioned
pleadings are available at www.donlinrecano.com/republicmetals or may be found on the
Bankruptcy Court's website, www.nysb.uscourts.gov, and are on file with the Bankruptcy Court
and available for inspection during regular business hours at the office of the Clerk of the
Bankruptcy Court for the Southern District of New York, One Bowling Green, New York, New
York 10004.

        7. OBJECTIONS TO ENTRY OF THE SALE ORDER (OTHER THAN THE
PROPOSED ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS AND
LEASES OR TO ANY PROPOSED CURE PAYMENT LIABILITY AMOUNTS IN
CONNECTION THEREWITH), INCLUDING THE DEBTORS' REQUEST TO APPROVE THE
SALE OF THE ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES
AND INTERESTS TO PURCHASER (AS DEFINED IN THE APA) OR ANOTHER
SUCCESSFUL BIDDER (EACH, AN "OBJECTION"), MUST BE MADE IN WRITING AND
FILED BEFORE FEBRUARY 6, 2019 at 4:00 p.m. (prevailing Eastern Time) (the
"OBJECTION DEADLINE").

            8. The Bid Procedures Order approves the Assumption and Assignment Procedures,
which set forth: (i) the manner in which the Debtors will (a) identify the Assumed Contracts and
the Assumed Leases (each as defined in the Sale Motion), and (b) identify amounts the Debtors
believe are necessary to cure defaults under each of such Assumed Contracts and Assumed Leases


47230917;1
18-13359-shl     Doc 399      Filed 01/11/19 Entered 01/11/19 16:00:07               Main Document
                                            Pg 31 of 32


as determined by the Debtors; and (ii) procedures to be followed by any party that wishes to object
to the proposed assumption and assignment of any Assumed Contract and Assumed Lease, or the
cure amounts proposed by the Debtors in respect thereof. An additional notice setting forth the
specific Assumed Contracts and Assumed Leases to be assumed by the Debtors and the proposed
cure amounts for such contracts will be served upon all counterparties to the Assumed Contracts
and Assumed Leases.

            9. The failure of any person or entity to file an objection on or before the Objection
Deadline shall be deemed a consent to the Sale of the Assets to the Successful Bidder and the other
relief requested in the Sale Motion and be a bar to the assertion, at the Sale Hearing or thereafter,
of any objection to the Bid Procedures, the Sale Motion, the Bid, the sale of the Assets, the Debtors'
consummation and performance of the APA (or modified APA) with the Successful Bidder
(including in any such case, without limitation, the transfer of the Assets free and clear of all liens,
claims, encumbrances and interests).

            10. This Notice is subject to the full terms and conditions of the Sale Motion, the Bid
Procedures Order and the Bid Procedures, which shall control in the event of any conflict. The
Debtors encourages parties in interest to review such documents in their entirety and consult an
attorney if they have questions or want advice.


 Dated: January __, 2019                              Respectfully submitted,

                                                      AKERMAN LLP

                                                      By:   /s/John E. Mitchell
                                                              John E. Mitchell (Admitted Pro Hac Vice)
                                                              Yelena Archiyan (Admitted in New York)
                                                              AKERMAN LLP
                                                              2001 Ross Avenue, Suite 3600
                                                              Dallas, TX 75201
                                                              Tel.: (214) 720-4300
                                                              Fax: (214) 981-9339
                                                              E-Mail: john.mitchell@akerman.com
                                                              E-Mail: yelena.archiyan@akerman.com

                                                                             -and-

                                                              Andrea S. Hartley (Admitted Pro Hac Vice)
                                                              Joanne Gelfand (Admitted in New York)
                                                              Katherine C. Fackler (Admitted Pro Hac Vice)
                                                              AKERMAN LLP
                                                              98 Southeast Seventh Street, Suite 1100
                                                              Miami, FL 3313
                                                              Tel.: (305) 374-5600
                                                              Fax: (305) 374-5095
                                                              E-Mail: andrea.hartley@akerman.com


47230917;1
18-13359-shl   Doc 399   Filed 01/11/19 Entered 01/11/19 16:00:07    Main Document
                                       Pg 32 of 32


                                                  E-Mail: joanne.gelfand@akerman.com
                                                  E-Mail: katherine.fackler@akerman.com

                                           Counsel for Debtors and Debtors-in-Possession




47230917;1
